           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:00cr130-2


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
AUDREY DEAN McGIRT.       )
                          )

     THIS MATTER is before the Court on the Defendant’s Motion to

Reduce Sentence. [Doc. 714, filed March 25, 2008].

     The Supplement to the Presentence Report has not yet been

completed and the Government has not responded to the motion. The

Court will, therefore, allow the Government to file its response on or before

two business days after the Supplement has been filed.

     IT IS, THEREFORE, ORDERED that the Government shall file its

response to the Defendant’s Motion no later than two business days after

the Probation Office files its Supplement to the Presentence Report in this
                                      Signed: April 21, 2008
matter.




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